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                                UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9
                                     WESTERN DIVISION
10
11   WESLEY HUMPSTON,                           CASE NO. 2:20-CV-10018-AB-KSx
12                 Plaintiff,                   [Proposed] ORDER TO EXTEND
                                                TIME TO RESPOND TO
13            v.                                COMPLAINT (Defendant Anthony
                                                Hawk) BY NOT MORE THAN 30
14   THOMAS BLACK; ANTHONY                      DAYS (L.R. 8-3)
     HAWK; THE BERRIC, LLC; DOES 1-
15   10 inclusive,                              Complaint served: Service waived
                                                   on December 16, 2020
16                 Defendants. ___________      Current response date: February 8,
                                                   2021
17                                              New response date: March 10, 2021
18                                              (Proposed ORDER filed separately)
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21         The Court having considered the Stipulation to Extend Time to Respond to
22   Complaint (Defendant Anython Hawk) By Not More Than 30 Days,
23         GOOD CAUSE BEING FOUND, IT IS SO ORDERED.
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25
     DATED: February __, 2021                _____________________________
26
                                             Stanley Blumenfeld, Jr.
27                                           United States District Judge

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29
             ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
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